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                            IN THE UNITED STf:ll_~@ISTRICT COURT
                            FOR THE MIDJ!(.,ffiPJ~'IUfl~f GEORGIA
                                  MIDDLE GEORGIA
       UNITED STATES OF AMERICtfJl9 JUN 9 AH IQ: 53 ·'.:.:: ... : : :

                       v.

                KYLE MYERS

                                     ORDER TO SURRENDER

       At the time of sentencii:ig, the above-named defendant requested to be permitted to voluntarily
surrender at such prison facility designated by the BUREAU OF PRISONS for the service of the
sentence this day imposed upon the defendant by the court. Upon a finding by the court that
VOLUNTARY SURRENDER is appropriate in this case, IT IS HEREBY ORDERED AND DIRECTED
that said defendant voluntarily surrender as directed by the U.S. Probation Office and all costs of said
VOLUNTARY SURRENDER be borne by the defendant. Until VOLUNTARY SURRENDER, the defendant
shall remain subject to provisions of any ORDER OF RELEASE heretofore entered.

                      SO ORDERED this     n      day of     ~\l.tJ--.      , 2019.




                                                      C. ASHLEY ROYA
                                                      SENIOR U.S. DIST



                                 ACKNOWLEDGMENT OF DEFENDANT

      I hereby acknowledge that the foregoing order has been explained to me. I agree to voluntarily
report as directed by the U.S. Probation Office and understand that if I fail to do so, I may be subject
to additional prosecution under the provisions of 18 USC §3146 which would expose me to a
consecutive imprisonment sentence.

                            yoJoe)                , 2019.
